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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON

MALIBU MEDIA, LLC,                        )
                                          )
      Plaintiff,                          ) Civil Action Case No. 4:19-cv-02017
                                          )
v.                                        )
                                          )
JOHN DOE, subscriber assigned IP          )
Address 45.21.8.223,                      )
                                          )
      Defendant.                          )
                                          )

                  PLAINTIFF’S NOTICE OF VOLUNTARY
               DISMISSAL WITH PREJUDICE OF JOHN DOE

      PLEASE TAKE NOTICE, Plaintiff has settled this matter with John Doe,

subscriber assigned IP address 45.21.8.223. (“Defendant”) through his counsel.

Pursuant to the settlement agreement’s terms, Plaintiff hereby voluntarily dismisses

John Doe from this action with prejudice. Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i)

Defendant John Doe has neither answered Plaintiff’s Complaint nor filed a motion

for summary judgment.

      Consistent herewith Plaintiff consents to the Court having its case closed for

administrative purposes.




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Dated: October 7, 2019.
                                              Respectfully submitted,

                                              By: /s/ Paul S. Beik
                                              Paul S. Beik
                                              Texas Bar No. 24054444
                                              S.D. Tex. ID No. 642213
                                              BEIK LAW FIRM, PLLC
                                              8100 Washington Ave., Suite 1000
                                              Houston, TX 77007
                                              T: 713-869-6975
                                              F: 713-868-2262
                                              E-mail: paul@beiklaw.com
                                              ATTORNEY FOR PLAINTIFF

                          CERTIFICATE OF SERVICE
      I hereby certify that, on October 7, 2019, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF and that service was perfected
on all counsel of record and interested parties through this system.

                                              By: /s/ Paul S. Beik
                                              PAUL S. BEIK




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